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SUM MIColeuielca mcm eCliis an cele] motto H

Debtor 4 Donald Anthony Fitzpatrick
First Name Middle Name Last Name
Debtor 2 Ashley Louise Fitzpatrick
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Eastern District of Kentucky [|
Case number
(If known) [] Check if this is an

amended filing

Official Form 104

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders 12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
Proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

eS List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

Unsecured claim

What is the nature of the claim? POO! 5 3,196.00

American Pool and Spa
Credilors Name As of the date you file, the claim is: Check all that apply.
265 North Keeneland Drive 1 Contingent
Number Street Unliquidated

Q Disputed

LJ None of the above apply
Richmond KY 40475
oy oe AP Code Does the creditor have a lien on your property?

No
Contact OQ) Yes. Total claim (secured and unsecured): $
Value of security: — $
Contact phone Unsecured claim $
: __. credit card debt
E What is the nature of the claim? § 7,588.00
J Bank of America

Creditors Name As of the date you file, the claim is: Check all that apply.
P.O. Box 982234 O Contingent
Number Street Unliquidated

QQ) Disputed

LI None of the above apply
El Paso TX 79998
City Stale ZIP Code Does the creditor have a lien on your property?

a No
Conlact OY Yes. Total claim (secured and unsecured): $

Value of security: - $

Contact phone Unsecured claim $

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Debtor 1

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1
Donald Anthony Fitzpatrick Case number (if kaw)
First Name Middle Name Last Name
Unsecured claim
Bank of America What is the nature of the claim? credit card debt 5 2,579.00
Creditors Name
P.O. Box 31785 As of the date you file, the claim is: Check all that apply.
Number Street QO) Contingent
& Unliquidated
QO Disputed
Tampa FL 33631 C2 None of the above apply
oy State 2P Code Does the creditor have a lien on your property?
if No
Contact C) Yes. Total claim (secured and unsecured): $
Value of security: - $
Contact phone Unsecured claim $
Capital One What is the nature of the claim? Credit card debt s 9,602.00
Creditor's Name
As of the date you file, the claim is: Check all that apply.
P.O. Box 30285 eee *
O Contingent
Number Street
Ww Unliquidated
C) Disputed
Salt Lake City UT 84130 U1 None of the above apply
City State ZIP Code Does the creditor have a lien on your property?
a No
O} Yes. Total claim (secured and unsecured): $
Contact
Value of security: - 3
Conlact BORE Unsecured claim $
Central Bank What is the nature of the claim? credit card debt 5 2,699.00
Credilor’s N:
P O. Box 481 As of the date you file, the claim is: Check all that apply.
Number Street Q Contingent
& unliquidated
Q Disputed
Lexington KY 40575 C1 None of the above apply
City State ZIP Code Does the creditor have a lien on your property?
No
QO) Yes. Total claim (secured and unsecured): 6
Coniact
Value of security: - $
Conlact phone Unsecured claim 5
Central Portfolio Control What is the nature of the claim? Medical expenses $ 3,061.00
Creditor's Name
10249 Yellow Circle Drive As of the date you file, the claim is: Check all that apply.
Number Street Q Contingent
Ste. 200 Unliquidated
QO Disputed
Hopkins MN 55343 CL) None of the above apply
City State ZIP Code Does the creditor have a lien on your property?
uw No
iad C] Yes. Total claim (secured and unsecured): $
Value of security: - $
Contact phone Unsecured claim S
Chase Card Services What is the nature of the claim? credit card debt 5 6,100.00
Creditor's Name As of the date you file, the claim is: Check all that apply.
P.O. Box 15298 O contingent
Number Street Unliquidated
Q Disputed
“pe (2 None of the above appl
Wilmington DE 19850 pey
City Stale ZIP Code Does the creditor have a lien on your property?

Conlact

Conlacl phone

No
QO) Yes. Total claim (secured and unsecured):

$
Value of security: =
Unsecured claim $

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

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Debtor 1

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Donald Anth ony Fitzpatrick Case number (if known}
Firs| Name Middle Name Last Name
Unsecured claim
EB Collection Bureau of Ft. Walton Beat what is the nature of the claim? Medical expenses § 1,361.00
Grediot’s Name
As of the date you file, the claim is: Check all that apply.
Number Street QO Contingent
P.O. Box 4127 Hi unliquidated
O Disputed
Fort Walton FL 32549 CQ) None of the above apply
City State ZIP Code Does the creditor have a lien on your property?
wf No
C3 Yes. Total claim (secured and unsecured): $
Contact
Value of security: = $
Contact phone Unsecured claim $
Credit Bureau Systems What is the nature of the claim? Medical expenses S 11,813.00
Credilor's Name
2541 Sir Barton Way As of the date you file, the claim is: Check all that apply.
Number Street OQ Contingent
Unliquidated
Q Disputed
Lexingotn KY 40509 C) None of the above apply
Cily Slate ZIP Code Does the creditor have a lien on your property?
Wd No
a QO) Yes. Total claim (secured and unsecured): §.
Value of security: - §
Contac! phone Unsecured claim $
Credit One Bank What is the nature of the claim? credit card debt S. 1,296.00
Creditor's Name
. As of the date you file, the claim is: Check all that apply.
6801 Cimarron Road . y Py
Q Contingent
Number Street
 Uniiquidated
Q Disputed
Las Vegas NV 89113 (2 None of the above apply
City Stale ZIP Code Does the creditor have a lien on your property?
W no
Q) Yes. Tota! claim (secured and unsecured). 4,
Contact
Value of security: - $
Tontacl phone Unsecured claim §
Dept. of Education What is the nature of the claim? student debt 5 41,638.00
Creditors Name
Navient As of the date you file, the claim is: Check all that apply.
Number Street O Contingent
P.O. Box 9635 i unliquidated
QO Disputed
Wilkes Barre PA L) None of the above apply
City State ZIP Code Does the creditor have a lien on your property?
w No
Sect U) Yes. Total claim (secured and unsecured): §
Value of security: - $
Contact phone Unsecured claim $
Discover Bank What is the nature of the claim? credit card debt $ 3,282.00
Creditor’s Name As of the date you file, the claim is: Check all that apply.
P.O. Box 3025 O Contingent
Number Seal i Untiquidated
QO Disputed
(I None of the above apply
New Albany OH 43054 Does the creditor have a lien on your property?
City State ZIP Code W@ No
C) Yes. Total claim (secured and unsecured): $
Gaal Value of security: - §$
Unsecured claim 3
Conlact phone

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Donald

Anthony

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Fitzpatrick

First Name Middle Name

Last Name

Enerbank USA

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Creditor’s Name

650 S. Main Street, Ste. 1000

Number Street

Salt Lake City UT 84101

City Stale ZIP Code
Contact

Contacl phone

GLA Collection Company

Creditor's Name

P.O. Box 588

Number Street

Greensburg IN 47240

City State ZIP Code
Contact

Conlact phone —

Members Heritage Credit Union

Creditor's Name

440 Park Place

Number Street

Lexington KY

40505

City State

ZIP Code

Contact

Contaci phone

Portfolio Recovery Assoc.

Creditors Name

P.O. Box 12914

Number Streel

Norfolk VA

23541

City State

ZIP Code

Cantart

Conlact phone

Sams Club

Creditor's Name

P.O. Box 965060

Number Street

Orlando FL

32896

City State

ZIP Code

Conlact

Contact phone

What is the nature of the claim? unknown

Case number ¢f krawn)

As of the date you file, the claim is: Check all that apply.
O Contingent

&@ unliquidated

QO} Disputed

QO) None of the above apply

Does the creditor have a lien on your property?
No

QO) Yes. Total claim (secured and unsecured):

$
Value of security: = $
Unsecured claim $

What is the nature of the claim? medical expenses

As of the date you file, the claim is: Check all that apply.
Q) Contingent

@ unliquidated

OQ Disputed

C None of the above apply

Does the creditor have a lien on your property?

a No

Q) Yes. Total claim (secured and unsecured):

$
Value of security: = $
Unsecured claim $

What is the nature of the claim? Unknown

As of the date you file, the claim is: Check all that apply.
QO Contingent

7 Unliquidated

C2) Disputed

C2 None of the above apply

Does the creditor have a lien on your property?

Uf No

Q) Yes. Total claim (secured and unsecured):

$
Value of security: - §
Unsecured claim $

What is the nature of the claim? unknown

As of the date you file, the claim is: Check all that apply.
QO Contingent

UW unliquidated

O Disputed

CQ) None of the above apply

Does the creditor have a lien on your property?
No

OC) Yes. Total claim (secured and unsecured): $

Value of security: 7- $

Unsecured claim §

What is the nature of the claim? Credit card debt

As of the date you file, the claim is: Check all that apply.
QO Contingent

@ Unliquidated

) Disputed

C) None of the above apply

Does the creditor have a lien on your property?

W No

Q) Yes. Total claim (secured and unsecured): §

Value of security: - $

Unsecured claim 5

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Unsecured claim

§ 66,589.00
j 616.00
¢ 14,634.00
5 493.00
S 6,535.00

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Conlaet phone

The Bureaus

Credilor's Name

650 Dundee Road, Ste. 370

Number Street

Northbrook IL 60062
City State ZIP Code
Conlact

Conlact phone

Wiseway, LLC

Credilor’s Name.

c/o Robert A. McMahon, esq.

Number Street

2245 Gilbert Ave., Ste. 101

Cincinnati OH 45206
City State ZIP Code
Contact

Contact phone

$
Value of security: - $
Unsecured claim $

What is the nature of the claim? UNknown

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Debtor 1 Donald Anthony Fitzpatrick Case number (irks)
First Name Middle Name Lasl Name
Unsecured claim
What is the nature of the claim? Credit card debt 5 331.00
Synchrony Bank
Creditors Name As of the date you file, the claim is: Check all that apply.
P.O. Box 965065 O contingent
Number Steet WA Uniiquidated
O Disputed
Orlando FL 32896 (2 None of the above apply
City Stale ZIP Code Does the creditor have a lien on your property?
Wf No
QO) Yes. Total claim (secured and unsecured):
Conlact

1,000.00

As of the date you file, the claim is: Check all that apply.
Q Contingent

@ Unliquidated

O Disputed

C] None of the above apply

Does the creditor have a lien on your property?
i No

() Yes. Total claim (secured and unsecured): §$

Value of security: - $

$

Unsecured claim

What is the nature of the claim? judgment

59,770.00

As of the date you file, the claim is: Check all that apply.
Q Contingent

@ unliquidated

Q Disputed

C2 None of the above apply

Does the creditor have a lien on your property?
i No

CQ) Yes. Total claim (secured and unsecured):

$
Value of security: - §
Unsecured claim $

Under penalty of perjury, | declare that the information provided in this form is true and correct.
\

x

—
re of Debtor 1

Date 27 Z

MMVI

Signature of Debtog 2

om 4/29/24
my PERN

For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

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